 Case 98-50517                Doc 644       Filed 10/02/19 Entered 10/02/19 08:27:01               Desc Main
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      FILED & JUDGMENT ENTERED
                Steven T. Salata




            October 2 2019


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                                _____________________________
                                                                                          Laura T. Beyer
                                                                                  United States Bankruptcy Judge



                                   UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                         STATESVILLE DIVISION

 IN RE:                                                     )   Case No. 98-50517
                                                            )   Chapter 7
 JOHN ROBERT MULLINS,                                       )
                                                            )
                                                  Debtor.   )

 ORDER AUTHORIZING TRUSTEE TO PAY INTERIM ATTORNEY FEES AND EXPENSES
             TO RICHARD M. MITCHELL AND JOHN W. TAYLOR

        THIS MATTER came on before the United States Bankruptcy Judge of the United States

Bankruptcy Court for the Western District of North Carolina on the Application of Richard M. Mitchell

and John W. Taylor for payment of interim attorney fees in the amount of $115,768.51 and $0.00 for

interim attorney expenses; and the Movants, having given proper and adequate notice of their Application

and Notice of Opportunity for Hearing to all parties in interest, and no objections having been made to the

Movants’ Application, the Court finds that the services provided by Richard M. Mitchell and John W.

Taylor to the Estate are reasonable and necessary to recover and protect the assets of the bankruptcy estate,

and the Court approves said Application.

        NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the sum of

$115,768.51 for interim attorney fees and $0.00 for interim attorney expenses is reasonable interim

compensation for services rendered to the estate by Richard M. Mitchell and John W. Taylor, and that the

Trustee is directed to pay such sum for attorneys’ fees as directed by the Movants to be apportioned by them.



This Order has been signed electronically. The                    United States Bankruptcy Court
judge’s signature and court’s seal
appear at the top of the Order.
